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             IN THE UNITED STATES COURT OF APPEALS
                     FOR THE FIFTH CIRCUIT


AIRLINES FOR AMERICA; AMERICAN
AIRLINES, INCORPORATED; DELTA AIR LINES,
INCORPORATED; JETBLUE AIRWAYS
CORPORATION; SOUTHWEST AIRLINES
COMPANY; UNITED AIRLINES,
INCORPORATED,

                   Petitioners,                             No. 25-60071

                   v.

UNITED STATES DEPARTMENT OF
TRANSPORTATION,

                  Respondent,

PARALYZED VETERANS OF AMERICA,

                  Intervenor.



        RESPONDENT’S REPLY IN SUPPORT OF MOTION TO
                 HOLD CASE IN ABEYANCE

      1. Intervenor provides no sound basis for denying the requested abeyance in

this matter. Intervenor’s opposition is premised on its objections to the agency’s

notice of enforcement discretion and potential reconsideration of the challenged

Rule. See Opp. 3-4. The agency has made clear its intention to revisit the Rule,

consistent with its authority to do so, and placing the case in abeyance will conserve

the resources of the Court and the parties while the agency assesses whether to revise
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the Rule in light of current priorities. The alternative would entail this Court

investing significant time and resources in resolving a challenge that may be rendered

moot by future agency action by the time argument is heard or a decision is issued.

The more prudent approach would be to hold this case in abeyance until the agency

has decided on a course of action with respect to the Rule and for the Court to decide

how to proceed at that juncture.

      Intervenor asserts that abeyance will “place[] the status of the Rule in limbo

and delay[] the experience of its benefits for [intervenor’s] members and all air

travelers.” Opp. 3. Revisiting a rulemaking necessarily entails uncertainty about the

status of that rulemaking, but that is no reason to inject further uncertainty into the

process by pressing ahead with briefing, argument, and resolution of an aspect of the

Rule that could be the subject of a future rulemaking. Agencies are routinely (and

necessarily) permitted to revisit their rules in light of evolving agency priorities. To

the extent intervenor harbors concerns about changes that the agency may propose to

the Rule in the future, intervenor is free to present its concerns in any future

rulemaking that the agency undertakes.

      3. Intervenor’s reliance (Opp. 4) on Clean Air Council v. Pruitt, 862 F.3d 1, 6

(D.C. Cir. 2017), is misplaced. In that case, the Environmental Protection Agency

had formally stayed a rule under the Clean Air Act, see id. at 5, which the D.C. Circuit

understood to be “the final agency position on this issue,” with “the status of law,” id.

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at 6, and therefore reviewable, see id. at 8. The reviewability of the Environmental

Protection Agency’s stay of a rule under a Clean Air Act provision authorizing such a

stay has no bearing on the Department of Transportation’s notice of enforcement

discretion here—a notice that is time-limited, premised on the agency’s ongoing

review of the rule, and not final agency action. See Heckler v. Chaney, 470 U.S. 821,

831 (1985) (“[A]n agency’s decision not to prosecute or enforce … is a decision

generally committed to an agency’s absolute discretion.”).

      4. Intervenor also requests that if the Court denies the government’s motion

to hold the case in abeyance, the deadline for the government’s response brief be set

to 30 days after the Court’s decision on the motion to hold the case in abeyance and

the deadline for the intervenor’s brief be set to seven days thereafter. The

government supports this request.

      For the foregoing reasons, the Court should grant the government’s motion to

hold the case in abeyance.




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                                            Respectfully submitted,

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                     CERTIFICATE OF COMPLIANCE

       I hereby certify that the foregoing complies with the type-volume limitation of

Federal Rule of Appellate Procedure 27(d)(2) because it contains 517 words,

according to the word count of Microsoft Word.


                                              s/ Urja Mittal
                                              URJA MITTAL
